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                                                 U.S. Department of Justice
[Type text]
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                                                    Southern District of New York
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                                                    New York, New York 10007


                                                    September 22, 2023

BY ECF
The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Charlie Javice and Olivier Amar, S1 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

         The Government respectfully submits this letter in response to the custodian list issue
raised in the defendants’ portion of yesterday’s joint letter. (See Dkt. 48 at 1 n.1, 4-5). As
explained further below, the defendants’ attempt to commandeer the enforcement of federal grand
jury subpoenas—particularly where, as here, the Government’s grand jury investigation is
ongoing—is contrary to fundamental tenets of federal criminal law and practice and should be
flatly rejected.

I.     Background

        In discussions between the parties, the defendants requested from the Government a list of
the custodians whose records were subject to review by J.P. Morgan Chase (“JPMC”) for
responsiveness to the Government’s grand jury subpoenas. The defendants indicated that such a
list was necessary for the defense to evaluate whether there was additional evidence that the
defense would seek to obtain from JPMC. The Government accommodated the defendants’
request, and, on August 22, 2023, the Government produced to the defendants a list, prepared by
JPMC, of the JPMC custodians. There are 149 different individuals or administrative inboxes
who have been included as custodians for JPMC’s grand jury subpoena response review.

       At the August 23, 2023 conference, the defendants complained to the Court that JPMC’s
custodian list—being utilized to comply with the Government’s grand jury subpoenas—was
narrower than what the defendants would like. To clarify the defendants’ request and any disputes,
the Court directed the defendants to provide a list of the additional custodians being sought by
September 1. (Aug 23 Tr. 13, 18). Notably, in response to the Government pointing out that it
had already provided the list of dozens and dozens of current custodians to the defendants, the
Court explained:

       I understand. Maybe [the defendants’ request] will not be in good faith. Maybe the
       list will be coincident with what you have given. We don’t know until we are
       forcing them to disclose and I want to force them to disclose what they want. Then,
       if it is too much, we can decide.
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(Id. at 15). The defendants also requested the text of the specific requests listed in the
Government’s grand jury subpoenas to JPMC, the Government agreed to accommodate that, and
the Court directed the Government to provide the subpoena requests by August 30. (Id. at 13, 18).

        On August 30, 2023, the Government sent a letter to the defendants with the text of each
of the requests in each of its grand jury subpoenas to JPMC.

        On September 1, the defendants provided a list of 69 additional names to the Government
that the defendants requested be added as JPMC custodians for purposes of JPMC’s response to
the Government’s grand jury subpoenas, and made other demands seeking justifications for and/or
expansion of the Government’s own grand jury subpoenas. The defendants even “reserve[d] the
right to identify additional custodians for search and review.”

        In a subsequent meet and conferral on September 7, the defendants asked for our position
on the additional custodians that the defendants had provided. Far from refusing to confer on the
matter as the defendants wrongly claim (Dkt. 48, at 5), the Government told the defendants,
expressly, to the extent the defendants are seeking to control the contours of a third-party’s
response to the Government’s grand jury subpoenas, the Government rejects their request. The
Government further told the defendants that they should file a motion with the Court if they sought
such relief, and the Government would file a response.

       The defendants did not raise the custodian list issue at any subsequent meet and conferrals,
including those discussing what issues would be raised in the September 21 joint letter, and no
motion was ever filed. At approximately 5 p.m. yesterday, the Government received for the first
time the defendants’ section of the September 21 joint letter, which raised the custodian list issue.
(See Dkt. 48 at 4-5).

II.     Discussion

        The Court should reject the defendants’ attempt to commandeer the enforcement of the
Government’s grand jury subpoenas, particularly where, as here, the Government’s grand jury
investigation is ongoing. In the joint letter, the defendants cite no legal authority or precedent
whatsoever to support their requests. That is because there is none. Permitting the defendants to
control the response of a third party to a federal grand jury subpoena would be an unprecedented
intrusion into the federal grand jury power and the Government’s investigative and prosecutorial
discretion.

        A. Applicable Law

        The grand jury “belongs to no branch of the institutional government,” United States v.
Williams, 504 U.S. 36, 47 (1992), and is “free to pursue its investigations unhindered by external
influence.” United States v. Dionisio, 410 U.S. 1, 17–18 (1973). As effected by Department of
Justice (“DOJ”) attorneys, a federal grand jury exercises extraordinarily broad powers to subpoena
records and compel testimony. See United States v. Calandra, 414 U.S. 338, 343–44 (1974). The
“grand jury’s authority to subpoena . . . is not only historic . . . but essential to its task.” Branzburg
v. Hayes, 408 U.S. 665, 688 (1972). The grand jury “may compel the production of evidence or
the testimony of witnesses as it considers appropriate,” and, importantly, “its operation generally
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is unrestrained by the technical, procedural and evidentiary rules governing the conduct of criminal
trials.” Calandra, 414 U.S. at 343.

        Only an attorney in the DOJ or an attorney specially appointed by the Attorney General
may conduct federal grand jury proceedings. See 28 U.S.C. § 515(a). It has been said that the
grand jury is “an accusatory body under the (almost) complete control of the prosecutor.” In re
Grand Jury Proceedings, 219 F.3d 175, 189 (2d Cir. 2000). Functionally, federal grand jury
subpoenas for records and/or testimony are issued and enforced by DOJ attorneys in charge of
federal criminal investigations. See, e.g., In re Various Grand Jury Subpoenas, 924 F. Supp. 2d
549, 553 (S.D.N.Y. 2013) (granting Government’s motion to compel compliance with grand jury
subpoenas), aff’d, 579 F. App’x 37 (2d Cir. 2014); In re Grand Jury Subpoena Duces Tecum Dated
Oct. 29, 1992, 1 F.3d 87, 88 (2d Cir. 1993) (reversing district court’s denial of Government’s
motion to compel compliance with grand jury subpoenas).

        Criminal defendants lack broad powers to compel records or testimony and, critically,
exercise no control over the grand jury and its subpoenas. Criminal defendants may not conduct
federal grand jury proceedings. 28 U.S.C. § 515(a). They can neither issue grand jury subpoenas,
nor compel compliance with grand subpoenas (whether for documents or testimony). They hold
no sway over the scope of a grand jury subpoena’s requests, or the scope of a subpoena recipient’s
response to such requests. Indeed, a criminal defendant like Javice or Amar has no more say over
the breadth of a grand jury subpoena and its response than he or she does over the breadth of the
allegations in a federal grand jury’s indictment. Simply put, criminal defendants have no standing
to enforce, compel, negotiate, narrow, or expand a subpoena recipient’s production of documents
to the Government pursuant to a federal grand jury subpoena. See, e.g., United States v. Skeddle,
176 F.R.D. 258, 259 (N.D. Ohio 1997) (“With regard to any materials that LOF did not deliver to
the grand jury, I remain of the view that the defendants are without standing to complain about
any noncompliance by LOF with regard to the grand jury’s subpoena.”).

        Instead, criminal defendants may seek to obtain evidence admissible for their defense at
trial under Rule 17(c) of the Federal Rules of Criminal Procedure. Unlike a grand jury subpoena
or a subpoena in civil litigation, a Rule 17(c) subpoena may “be used only as a mechanism for
obtaining specific admissible evidence.” United States v. Skelos, No. 15 Cr. 317 (KMW), 2018
WL 2254538, at *2 (S.D.N.Y. May 17, 2018) (citations omitted). That is, “Rule 17(c) subpoenas
cannot be used to obtain documents that would be excluded on hearsay grounds or would otherwise
be inadmissible as evidence at trial.” Id. at *2. It is also “well established . . . that Rule 17(c) does
not provide a basis for pre-trial ‘production of materials whose evidentiary use is limited to
impeachment.’” United States v. Kaufman, No. 13 Cr. 411 (JMF), 2014 WL 2048198, at *10
(S.D.N.Y. May 19, 2014) (quoting United States v. Cherry, 876 F. Supp. 547, 553 (S.D.N.Y.
1995)). In short, a Rule 17 subpoena must be targeted at obtaining specific, admissible evidence
rather than serve as a “general ‘fishing expedition.’” United States v. Ulbricht, 858 F.3d 71, 109
(2d Cir. 2017) (quoting United States v. Nixon, 418 U.S. 683, 699-700 (1974)).

        B. Defendants’ Request is Baseless

        Straightforward application of these bedrock principles of federal criminal law compels the
denial of the defendants’ requests. In the same way that defendants do not have the power to issue
federal grand jury subpoenas, they do not have the power to dictate or challenge the contours of
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the response of a third party to the Government’s federal grand jury subpoenas. To allow otherwise
would upend basic tenets of criminal law that date back to the founding of this country.

        As a matter of law, the defendants lack standing to challenge JPMC’s response to the
Government’s grand jury subpoenas. See Skeddle, 176 F.R.D. 258, 259. The defendants do not
argue otherwise or, for that matter, cite any legal authority in support of their position. There is
none. Instead, the defendants misconstrue the Court’s statements at a prior conference, and
misrepresent the Government’s position at a subsequent meet and confer (where the Government
rejected the defendants’ request and made clear to the defendants that they should file a motion
with the court). That the defendants have not filed an actual motion is telling. There has been no
motion because there is no law or precedent that supports the defendants’ request. The defendants’
attempted usurpation of broad grand jury subpoena power is simply an effort to circumvent the
more stringent requirements of Rule 17. 1

        Indeed, at the July 13, 2023 status conference before this Court, Your Honor asked defense
counsel: “Let me ask this: Can you, under the Rules, issue a trial subpoena to JPMorgan to
produce, well, the things you say you want to have?” (July 13, 2023 Tr. at 10-11 (emphasis added)).
Counsel for Javice responded, “We can prepare one immediately for your Honor, yes.” (Id. at 11).
Over two months have passed since that conference and, to the Government’s knowledge, neither
defendant has applied to the court for an issuance of a Rule 17 subpoena. Instead, the defendants
are transparently avoiding even an attempt to meet the requirements of Rule 17 by dictating to the
Government how a third party must comply with its own federal grand jury subpoena. The
defendants can avail themselves of their own subpoena power (should they satisfy the requirements
of Rule 17); they have simply chosen not to even attempt to do so as a matter of tactics.

        The defendants’ current effort to obtain broader subpoena powers than they are entitled to
under federal criminal procedure—this time, by interjecting themselves into responses to the
Government’s grand jury subpoenas—is lawless and virtually unprecedented. If accepted, it will
be utilized by savvy defense counsel in this District to try to upset the carefully considered limits
on criminal defendants’ ability to issue compulsory process to victims and witnesses. In this case,

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  These tactics are of a piece with prior efforts by the defense to use—by way of two related civil
proceedings—the broader rules of civil discovery to gain an advantage in the criminal case and as
an end-run around Rule 17. As background, the Securities and Exchange Commission (“SEC”)
filed a parallel civil action against the defendants in this district, see SEC v. Javice, No. 23 Civ.
2795 (S.D.N.Y.) (the “SEC Case”), and JPMC had previously filed its own civil lawsuit against
the defendants in the District of Delaware, see JPMC v. Javice, No. 22 Civ. 1621 (JDW) (D. Del.).
The Government filed motions to stay discovery in both proceedings, to avoid the defendants
abusing the broader discovery available in civil cases, and both motions were granted. In the SEC
Case, for example, Judge Liman concluded that “the only effect of the Court allowing Javice to
proceed in this case with document discovery”—and granting her access to broad civil subpoena
power—“would be to circumvent the limits of discovery in the criminal case before Judge
Hellerstein.” 2023 WL 4073797, at *8 (S.D.N.Y. June 20, 2023). The defendants are now
attempting to obtain a similarly broad subpoena power by taking control of the grand jury subpoena
power in this criminal case—all to avoid the stringent requirements of Rule 17. That effort must
be rejected, just as comparable efforts have already been rejected by two federal judges in the
related civil cases.
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more particularly, the defendants are seeking to interject themselves into the Government’s grand
jury subpoenas to the victim of their crime, whom the defendants have already defrauded of over
$175 million. While the victim in this instance is a global bank with substantial resources and
sophisticated counsel, JPMC nonetheless remains the victim of a massive fraud. It would set a
dangerous precedent—ripe for abuse, harassment, and delay—to allow criminal defendants to
dictate the parameters of their victim’s response, or the response of other witnesses, to the
Government’s grand jury subpoenas.

       For all of these reasons, the defendants’ requests to control and expand the scope of JPMC’s
response to the Government’s own grand jury subpoenas should be rejected out of hand.

         C. The Same Logic Applies to Defendants’ Attempts to Challenge JPMC’s Claims of
            Privilege In Response to the Government’s Grand Jury Subpoenas

        Because the defendants lack standing to expand the scope of a grand jury subpoena
recipient’s response, it follows that the defendants also lack standing to challenge a subpoena
recipient’s invocation of privilege in response to a grand jury subpoena. The Government today
received a letter from JPMC—attached hereto as Exhibit A—that, in part, responds to the
defendants’ attempts to do the latter. 2 For the reasons discussed above, the Government agrees
that the Defendants cannot object to a third-party’s compliance with a federal grand jury subpoena
issued by the Government. To the extent Javice or Amar seek to obtain further records from a
third party via subpoena, the only avenue available to them is to move for the issuance of a Rule
17(c) subpoena.

III.     Conclusion

        The defendants are free to apply to the Court for a Rule 17(c) subpoena, but their attempts
to co-opt the broad subpoena powers of the grand jury, whether to expand a responsiveness review
or challenge invocations of privilege, is barred by federal law and procedure. The defendants’




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  In the joint letter, the defendants state that they sent their privilege objections to JPMC with the
Government’s consent. (Dkt. 48, at 4). That is true insofar as the Government did not object to
the defendants’ proposed mechanism for conveying their objections to JPMC. Specifically, the
defendants proposed emailing their objections to JPMC’s counsel, and copying the Government.
The Government indicated that process was fine. The Government did not, however, somehow
authorize the defendants to make objections on the Government’s behalf to JPMC’s response to
the Government’s grand jury subpoenas. As noted in the joint letter, the Government has no
challenges to JPMC’s invocation of privilege at this time. (Dkt. 48, at 2).
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requests should be denied.



                                       Respectfully submitted,

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                                       United States Attorney

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cc: Counsel of Record (by ECF)
